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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


  IN RE: CAPITAL ONE CONSUMER                           )
  DATA SECURITY BREACH LITIGATION                       )      MDL No. 1:19mci2915(AJT/JFA)
                                                        )

                                               ORDER


         On September 10,2021,the court held a lengthy hearing on eleven motions to seal that
  had been filed by the parties to which a response had been filed by plaintiffs' counsel indicating
  tbflt all or portions ofthe materials sought to be sealed in those motions should not sealed based
  on the applicable Fourth Circuit requirements for allov«ng information to be filed under seal.
  The motions to seal involved in that hearing appear at docket entry numbers 1786,1790,1802,

  1809, 1829, 1833, 1843, 1881, 1887, 1888, and 1915 and they involved various pleadings and
  exhibits that had been filed with the court involving plaintiffs' standing to assert breach of

  contract claims. Capital One's motion for summary judgment, Amazon's motion for summary
  judgment, plaintiffs' motion for partial summary judgment for breach ofcontract, and a motion
  in limine to exclude certain Office ofthe Comptroller of Currency("OCC")documents. One of

  the motions to seal also involved plaintiffs' presentation slides that had been used in a hearing

  before the District Judge. (Docket no. 1790). On September 13,2021,the court entered an order
  indicating that the motions to seal were granted in part and denied in part. (Docket no. 1955).
  Following the entry ofthis order. Capital One, Amazon,and plaintiffs filed memoranda and
  exhibits relating to the motions to seal that were the subject ofthe court's September 13,2021

  order. (Docket nos. 1990, 1991, 1992, 1995, 1997-98, 1999-2003).

          On September 27,2021, Capital One and Amazon filed ajoint motion to stay. (Docket
   no. 2004). Plaintiffs opposed this motion on October 4,2021 (Docket no. 2032)and Capital One
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